Case 2:13-cr-00052-GMN-GWF         Document 5        Filed 02/05/13       Page 1 of 3




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 UNITED STATES OFAMERICA,                        )
                                                 )   2:13-CR-O 9 X
               plaintil,                         )
                                                 )   ORDER FOR ISSUANCE OF
         vs.                                     )   W RIT OF HABEAS CORPUS
                                                 )   AD PROSEQUENDUM FOR
 MICHAELV.DOERFLEIN,                             )   M ICHAELV.DOERFLEIN
                                                 )
               Defendant.                        )
                                                 )

               Upon reading the petition ofthe United States Attorney forthe Districtof
 Nevada,and good cause appearing therefor,
               IT IS HEREBY O RDERED thata W ritofHabeas CorpusAd Prosequendum
 issue out of this Court,directing the production of the body of the said M ICHAEL V.
 DO ERFLEIN, before the United States M agistrate Judge at Las Vegas,Nevada,on or
                    I/A & A/P Fri:2/15/13
 about              3:e0 PM   GW
                                   y. 3A          ,forInitialAppearance and Arraignm entand
 Plea,and any fudnerproceedings and from tim e to tim e and day to day thereafteruntil
 excused by the said Coud.
               DATED: -
                      .).-.
                          j-t'y                                       .        ,.
                                                       $
                                                           O
                                                UNITED STATES             IS   TE JUDG E
     Case 2:13-cr-00052-GMN-GWF         Document 5       Filed 02/05/13        Page 2 of 3




1 DANIEL G .BO G DEN
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4 333 Las Vegas Blvdu S.,Suite 5000
  Las Vegas,Nevada 89101
5 (702) 388-6336
6                   U N ITED S TA TE S D IS TR IC T C O U R T
7                          D IS TR IC T O F N E VA D A
8
                                       00 0-  -

9
          UNITED STATES OFAMERICA,                )      2:13-cr-OjZ.
10                                                )
                 F>léjirhtiff,                    )
11                                                )     PETITION FOR W RIT OF HABEAS
                            vs.                   )     CORPUS AD PROSEQUENDUM FOR
12                                                )     MICHAEL V.DOERFLEIN
          MICHAELV.DOERFLEIN,                     )
13                                                )
                 Defendant,                       )
14 d                                              )
15               The petition ofthe United States Attorney forthe DistrictofNevada respeclully
16        show sthatM ICHAEL V.DO ERFLEIN,#02572032,is com m itted by due process ofIaw in
17 the custody ofthe W arden,Clark County Detention Center,Las Vegas,Nevada,thatsaid
18 W arden has consented to the tem porary release ofthe said M ICHAEL V.DO ERFLEIN
19 pursuantto a W rit of Habeas Corpus Ad Prosequendum so thatthe said MICHAEL V.
20 DO ERFLEIN m ay be presentbefore the United States M agistrate Judge forthe Districtof
                                                      I/A & A/p Fri:2/15/13
21 Nevada,atLas Vegas,Nevada,on                       3:. pM     cw p, :A                    ,fOrInitial
22 Appearance and Arraignmentand Plea,and anyfudherproceedings,and from tim e to tim e
23 and day to day thereafteruntilexcused by the said Court,
24               Thatthe presence ofthe said M ICHAEL V.DOERFLEIN before the United States
                                                      I/A & A /P Fri:z/15/13
25 M agistrate Judge on orabout                       3:(jaev    cw y' 3A            ,and any fudher
26 proceedings and from tim e to tim e and day to daythereafteruntilexcused by the Courthas
     $'
Case 2:13-cr-00052-GMN-GWF         Document 5          Filed 02/05/13      Page 3 of 3




 been ordered by the United States Magistrate orDistrictJudge forthe DistrictofNevada.
        W HEREFO RE, petitioner respectfully prays that a W rit of Habeas Corpus Ad
 Prosequendum issue outofthis Coud,directed to the W arden,Clark County Detention
 Centerand to the United States Marshalforthe DistrictofNevada,com m anding them to
 produce the said M ICHAEL W DO ERFLEIN, before the United States DistrictCourt on
                        I/A & A/P Fri::/15/13
 orabout                3:()aPM   Gw F 3A                   ,and from time to tim e and day to day
 thereafter,atsuch tim es and places as may be ordered and directed by the Coud entitled
 above,to appearbefore the Court,and when excused by the said Court,to be returned to
 the custodyofthe W arden,Clark Counk Detention Center,LasVegas,Nevada,
               DATED: this         tb day ofFebruary,2013,
                                            Respeclully subm itted,
                                            DA NIEL G ,BO G DEN
                                            United    es Attorney
                                                . .=   . ... .   . x   -
                                          v-                     >
                                                                 /

                                            B          .JAROC H
                                            As IstantUni d States M orney




                                                2
